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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

CARLTON R. CARTER,

                       Plaintiff,                                 8:23CV218

        vs.
                                                         MEMORANDUM AND ORDER
HUSKER AUTO GROUP &
MANUFACTURER,

                       Defendant.


       This matter is before the Court on its own motion. Plaintiff filed a Complaint, Filing

No. 1, on May 24, 2023. However, Plaintiff failed to include the $402.00 filing and

administrative fees. Plaintiff has the choice of either submitting the $402.00 filing and

administrative fees to the Clerk’s office or submitting a request to proceed in forma

pauperis. Failure to take either action within 30 days will result in the Court dismissing

this case without further notice to Plaintiff.

       IT IS THEREFORE ORDERED that:

       1.     Plaintiff is directed to submit the $402.00 fees to the Clerk’s office or submit

a request to proceed in forma pauperis within 30 days. Failure to take either action will

result in dismissal of this matter without further notice.

       2.     The Clerk of the Court is directed to send to Plaintiff the Form AO240

(“Application to Proceed Without Prepayment of Fees and Affidavit”).

       3.     The Clerk of the Court is directed to set a pro se case management deadline

in this matter with the following text: October 6, 2023: Check for MIFP or payment.
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  Dated this 5th day of September, 2023.

                                           BY THE COURT:



                                           Joseph F. Bataillon
                                           Senior United States District Judge




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